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                         IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )                             8:09CR36
                                    )
            v.                      )
                                    )
JUAN RAMOS-RAMOS,                   )                       PRELIMINARY ORDER
                                    )                         OF FORFEITURE
                  Defendant.        )
____________________________________)


               This matter is before the Court upon the United States' Motion for Issuance of

Preliminary Order of Forfeiture (Filing No. 46). The Court has reviewed the record in this case

and finds as follows:

               1. Defendant has entered into a Plea Agreement, whereby he has agreed to plead

guilty to Counts I and IV of said Indictment. Count I of said Indictment charges the efendant

with conspiracy to distribute methamphetamine, a violation of 21 U.S.C. § 846. Count IV of said

Indictment charges the defendant with using $455.00 in United States currency to facilitate the

commission of the conspiracy and charges said personal property is derived from proceeds

obtained directly or indirectly as a result of the commission of the conspiracy.

               2. By virtue of said plea of guilty, the defendant forfeits his interest in the subject

property, and the United States should be entitled to possession of said property, pursuant to

21 U.S.C. § 853.

               3. The United States' Motion for Issuance of Preliminary Order of Forfeiture

should be sustained. Accordingly,
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                IT IS ORDERED:

                A. The United States' Motion for Issuance of Preliminary Order of Forfeiture is

hereby sustained.

                B. Based upon Count IV of the Indictment and the defendant's plea of guilty, the

United States is hereby authorized to seize $455.00 in United States currency.

                C. The defendant's interest in said property is hereby forfeited to the United

States for disposition in accordance with the law, subject to the provisions of 21 U.S.C.

§ 853(n)(1).

                D. The aforementioned forfeited property is to be held by the United States in its

secure custody and control.

                E. Pursuant to 21 U.S.C. § 853(n)(1), the United States forthwith shall publish for

at least thirty consecutive days on an official Government internet site (www.forfeiture.gov)

notice of this Order, Notice of Publication evidencing the United States’ intent to dispose of the

property in such manner as the Attorney General may direct, and notice that any person, other

than the defendant, having or claiming a legal interest in any of the subject forfeited property

must file a Petition with the court within thirty days of the final publication of notice or of receipt

of actual notice, whichever is earlier.

                F. Said published notice shall state the Petition referred to in Paragraph E., above,

shall be for a hearing to adjudicate the validity of the Petitioner's alleged interest in the property,

shall be signed by the Petitioner under penalty of perjury, and shall set forth the nature and extent

of the Petitioner's right, title or interest in the subject property and any additional facts supporting

the Petitioner's claim and the relief sought.


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               G. The United States may also, to the extent practicable, provide direct written

notice to any person known to have alleged an interest in the property subject to this Order as a

substitute for published notice as to those persons so notified.

               H. Upon adjudication of all third-party interests, this Court will enter a Final

Order of Forfeiture pursuant to 21 U.S.C. § 853(n), in which all interests will be addressed.

               DATED this 13th day of August, 2009.

                                              BY THE COURT:

                                              /s/ Lyle E. Strom

                                              LYLE E. STROM, Senior Judge
                                              United States District Court




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